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UNITED STATES BANKRUPTCY COUPT

NlTED ST TES BANKF\UPTCY CC URT
EASTERN DI STRI CT O F CAL I FORN IHASTERN?JISTR|CT OF CAL|FOF N|A

In re

ALFRED M. CHITTEDEN and
JULIA H. CHITTENDEN

In re

JONATHAN R. MCLAREN and
CYNTHIA M. MCLAREN

In re

DAVID B. PETERSEN and
VICKI G! PETERSEN

In re "

CLARE F. PRICE

In re ,

WILLIAM P. CAMPBELL and
MARGENE T. CAMPBELL

In re

DAVID T. LLOYD and
DIANE M. LLOYD

 

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Case NO.:O4-33611-C-7V/
DC NO. JMS~l

DC NO. MBB~l#

CaSe No{*O4-33609-C-7
DC NO. P§M-l

Case No. O4-34629-C-7
Dc No. §PM-l

Case Nof'05-20025-C-7
DC NO. JMS~l
DC NO. RSS-l
CaSe No. 05-20678-€-7
MC NO. FTM-l

CaSe NO;:05-21288-C-7
DC NO. §?R-€O

 

 

In re Case NO. 05-21924-€-7
GLENDA BIANCO DC NO. §PB-l
In re Case NOT'05-22372-C-7

MONTE LEE BEACH, 11 and
MAUREEN A. BEACH

Mc NO. JNS~l

 

In re ~ Case No: 05-20584-€-7
WILLIAM J. LONG DC NO. PDM-l
In re Case No; 05-21097-€-7

JOHN E. MARK and

SHARON R. MARK

In re

JOHN R. FRESK and
MIRIAM K. FRESK,

DEBTOR(S).

vvvvv`/VV`/vv~./VVV\_/VVV`/Vvvvvvv`/VV`/Vv

Dc No.'§JB-l

Case NQ} 05-22037-€-7
DC NO. MBB-l

MEMORANDUM DECISION ON REQUESTS FOR ATTCRNEYS' FEES AND COSTS

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These consolidated motions for relief from automatic
stay, which have been the subject of several oral proceedings
before this court, present a common pattern that may add up to
a below-the~radar abuse of the bankruptcy system.

In each instance, an oversecured mortgage creditor has
filed a stay relief motion in a chapter 7 case:to be heard
within a short period before the stay would otherwise expire as
a matter of law (and in some instances after the stay expired
in part) and has asked the court to determineaappropriate fees
to be charged pursuant to the terms of the coitract. Hence,
the motions are of dubious necessity.

These unnecessary motions have been criticized as a
form of churning that has the primary effect“§f increasing the
amount of the debt by the $750 - $1500 that the creditor would
add to the debt, and take from a debtor’s equity, under the
terms of its underlying contract without materially enhancing
the creditor’s latitude. _l

The basic problem stems from the foll§wing provisions

of,the Bankruptcy Code. First, the automatic_stay expires with

respect to the interests of an individual chapter 7 debtor when

the debtor receives a discharge. 11 U.S.C. §5362(c)(2)(€).
Sebond, to the extent that the trustee has a§:interest in the
debtor’s exempt property (ordinarily because§:t might have
realizable value in excess of the exemption), the automatic

stay expires as a matter of law when the residence is no longer

property of the estate. 11 U.S.C. § 362(c)(1). In the garden-

variety chapter 7 case, the debtor’s residence ceases to be

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property of the estate when the case is closedl in light of the
provisions that property not otherwise administered at the time
of closing is abandoned to the debtor at closing. ll U.S.C. §

554(c).

The median chapter 7 case in the United States is
closed in fewer than 120 days after it was filed, according to
statistics published by the Administrative Office of the United
States Courts for calendar year 2004. In the:Eastern District
of California, the median time for closing a chapter 7 case
during 2004 according to those same statistics was 103 days.

Unless there are assets to administer*@r pending
adversary proceedings or pending motions for :elief from stay,
there is little reason why a chapter 7 case w§uld remain open
longer than the median time. ,,

The consequence of all this is that a:creditor on a
residential home mortgage of an individual debtor will cease to
be effected by the automatic stay in the typi§al case, in
approximately 103 days after the case if filed in the Eastern
District of California and 120 days nationall§.

Further, if the trustee files a “no asset report” after
the meeting of creditors, then the case is likely to be closed
expeditiously. Adversary proceedings are filed in fewer than 5
percent of all chapter 7 cases in this distr§§t.

The salient common characteristics offthese motions is
that the debtor, in each instance, has equity:in the property.
In other words, the value of the property exgeeds the amount of
the debt but is less than an amount large en§ugh to attract the

interest of the trustee in selling the residence so as to

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realize value for the estate. §
The economic consequence of the motion is that the
creditors, who contend that they are entitled to have their
fees and expenses reimbursed pursuant to the terms of the
contract, concede that they will add $750 to $1500 to the
amount of the debt that must be paid by the debtors. Thus, to
the extent that a debtor may be in default on:a home mortgage,
the amount later required to cure it is beingéinflated by the

expenses of the motion.

In addition to the attorney’s fee expense, each of
these motions was subject to a filing fee in the amount of
$150. 28 U.S.C. § 1930, Bankruptcy Court Miscellaneous Fee
Schedule, #20.

In most of these instances, the movanttdid not, before
filing the motion, contact the trustee to see=if the trustee
would stipulate to relief from stay. The significance of this
is that no filing fee is required for a stipulation for court
approval of an agreement for relief from stay: ld;

It follows that, when a creditor file§:a motion for
relief from stay against the debtor who has exempt equity in
their residence, which motion is to be heard;at or near the
time the debtor receives a discharge, the motion is likely to
be mooted as to the debtor because of the expiration of the
stay soon after the motion could be heard in the first place.
Moreover, by not contacting the trustee in search of a
stipulation, the creditor automatically inflicts a $150 filing
fee on the debtor. a

While some of the creditors argued inlthe several oral

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hearings on these consolidated motions that trustees will not
stipulate for relief from stay, it is apparent;to this court
(and as confirmed by concessions by other par§ies during the
hearings) that chapter 7 trustees in this district commonly do
stipulate to relief from stay. The problem i§§that the
creditors rarely bother to ask.

It follows that these motions for relief from stay,
even though permitted by law, should not have-been necessary.
They serve little useful purpose, clog a court’s calendar, and
increase a debtor’s burden of secured debt. Hence, no
attorney’s fees are reasonable nor should costs be awarded or

permitted to be reimbursed under the terms in:the contract.

The law in the Ninth Circuit is that attorney’s fees
for relief from stay litigation are not available under the
terms of the Bankruptcy Code. Johnson v. Righetti (In re
Johnson), 756 F.2d 738, 741 (9th Cir. 1985).”7

The Johnson v. Righetti decision has §§so been
understood to mean that the expenses of a motion for relief
from stay do not constitute an “action on the§contract” that is
subject to the terms of California Civil Code§§ 1717, which

provides, in relevant part:

Where a contract provides for attorney’ s fees,

that provision shall be constructed as applying to the
entire contract, unless each party was represented by
counsel in the negotiation and execution of the
contract, and the fact of that repres§ntation is
specified in the contract.

Reasonable attorney’s fees shall be fixed by the court,
and shall be an element of the costs of suit.

Cal. Civ. Code § 1717.

Thus, debtors as prevailing parties h§ve been prevented

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from seeking to exploit the terms of § 1717. f§eeL e. ., Hassen
Imports Partnership v. KWP Financial VI (In r§;Hassen Imports
Partnership), 256 B.R. 916, 921-23 (9th Cir. BAP 2000).

The twist in this case is that in each instance the
court was asked by the movant in the motion to,determine fees,
Since the only possible basis for the court awarding fees would
be under applicable nonbankruptcy law, i.e., the contract
subject to § 1717, it appears that by invoking § 1717 the
creditors have, in effect, waived their right:to resist an
award in favor of a debtor under § 1717 and have conceded that
they are proceeding as if the motion for relief from stay is an
action on the contract.

This view is supported by the concession by all of the
creditors during the several oral hearings inithese
consolidated motions that the creditors systematically add
expenses under the terms of the contract, whi§h are subject to
§ 1717, regardless of whether the court makes an award.

Paradoxically, this amounts to the creditors
systematically conceding that Johnson v. Righ§tti was decided
on the false premise that creditors were not:routinely adding
fees and expenses of automatic stay litigatidn to the debt
pursuant to the terms of the contract. The §Emerous creditors
involved in this litigation have demonstrated the fallacy in

Johnson v. Righetti. a

Even though the creditors have contended that they are
only animated by the purest of motives, one §annot help but
note that by filing a motion for relief from:§tay where the

debtor has exempt equity in a residence and §§comparatively

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minor default (as is the case in most of thesé*motions) the
economic consequence is that the creditors appropriate to
themselves (and their counsel) a bankruptcy tax to be paid by
the debtors from their exemption that supposedly is being
protected by the bankruptcy.

Thus, viewed from a macro level, the practice
identified in these motions raises difficult*questions that
suggest an abusive practice.

For the foregoing reasons, each of the;motions for a
determination of fees and costs will be deniedy and it is
specifically determined that the reasonable f§es and expenses
in connection with this motion are zero within the meaning of §
1717, which the movants have asked this courtito apply by
virtue of their request for fees and expense§:' Similarly, all
costs are denied because the motions were unnecessary. In
addition, as a separate, independent reason §§ deny costs for
filing of the motions, the creditors did notjask the trustee to
stipulate for relief from the stay such that:the $150 filing
fee would not be required to have been paid fn the first place.

Appropriate orders will issue. 4

Dated: June 10, 2005.

 

UNITED §`BANKRUPTCY JUDGE

 

 

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CERTIFICATE OF SERVICE

On the date indicated below, l served a true and correct
copy(ies) of the attached document by placing said copy(ies) in
a postage paid envelope addressed to the person(s) hereinafter
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mail or by placing said copy(ies) into an int§foffice delivery
receptacle located in the Clerk‘s Office. 13

Jonathan and Cynthia McLaren
859 Washington Street, #128 f
Red Bluff, CA 96080

Nancy Benson l
857 Jefferson Street, #D
Red Bluff, CA 96080

John W. Reger
P.O. Box 933
Palo Cedro, CA 96073

ABN AMRO Mortgage Group, Inc
c/o Pite Duncan & Melmet, LLP
1820 E. First Street, Suite 420
Santa Ana, CA 92705

Julia and Alfred Chittenden
23135 Kitty Street
Red Bluff, CA 96080

\ \"`

Nancy Benson
857 Jefferson Street #D a
Red Bluff, CA 96080 s

John W. Reger 1
P.O. Box 933
Palo Cedro, CA 96073

Mortgage Electronic Registration Systems, Incj
c/o Alvarado, Shapiro & Wilson, LLP
4 Park Plaza, Suite 1230

Irvine, CA 92614 j

Homecomings Financial Network, Inc ,i
1665 Scenic Avenue, Suite 200 *v
Costa Mesa, CA 92626 ‘

David and Vicki Petersen
31700 Transformer Road
Malin, OR 97632

Prem Dhawan
P¢O¢ Box 965 ':':

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Benecia, CA 94510

Gregory Hughes
3017 Douglas Blvd. #300
Roseville, CA 95661

Whidbey Island Bank

c/o Pite Duncan & Melmet, LLP
1820 E. First Street, Suite 420 j
Santa Ana, CA 92705 a

Clare Price
4751 Trotter Lane
Shingle Springs, CA 95682

W\WWW

Denise Olrich
809 Petaluma Boulevard N
Petaluma, CA 94952

Thomas Aceituno
P.O. Box 189
Folsom, CA 95763-189

‘{ \\~

Mortgage Electronic Registration Systems, Inc
c/o Alvarado, Shapiro & Wilson LLP

4 Park Place, Suite 1230

Irvine, CA 92614

!HWH

The CIT Group/Consumer Finance, Inc.
C/o Law Office of Richard Stone
2250 Commerce Avenue, Suite D
Concord, CA 94520

11 “ … …i

William and Margene Campbell
9944 Villa Granito Lane
Granite Bay, CA 95746

`\… ‘\;:‘1"

Gary Fraley ,
2862 Arden Way #205 f
Sacramento, CA 95825 l

Frederick Lucksinger
P.O. Box 2460
Rocklin, CA 95677

Wells Fargo Bank, N.A.

c/o Pite Duncan & Melmet, LLP z
525 E. Main Street er
P.O. Box 12289 7
El Cajon, CA 92022-2289 t

David Lloyd
1945 Sloat Way :,
Sacramento, CA 95818 , ;

 

 

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Michael O'Neal
1565 River Park Drive #A §§
Sacramento, CA 95815 :'

Hank Spacone ,
P.O. Box 255808 :
Sacramento, CA 95865-5808 §

Impac Funding Corporation

c/o Polk Prober & Raphael
P.O. Box 4365

Woodland Hills, CA 91365-4365

Glenda Bianco 11
19816 1st Street '
Cottonwood, CA 96022

Darryll Alvey ll
1907 Park Marina Drive ;;
Redding, CA 96001 ::

c/o Miles, Bauer, Bergstrom & Winters, LLP
1665 Scenic Avenue, Suite 200
Costa Mesa, CA 92626 =§

ABN Mortgage Group, Inc ;;

Monte Beach
P.O. Box 16677
South Lake Tahoe, CA 96151 ;_

Maureen Beach
P.O. Box 16677
South Lake Tahoe, CA 96151 ::

Gary Fraley ,
2862 Arden Way #205 l
Sacramento, CA 95825 j

Michael Burkart ,
5150 Fair Oaks Blvd. #101-185 ;§
Carmichael, CA 95608 ;:

Chase Home Finance, LLC n
c/o Alvarado, Shapiro & Wilson, LLP 4
4 Park Plaza, Suite 1230 §
Irvine, CA 92614

William Long
14845 Lago Drive
Rancho Murieta, CA 95683 §§

Stephen A. Koonce j
791 University Avenue f
Sacramento, CA 95825-6708 :

 

 

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Hank Spacone
P.O. Box 255808
Sacramento, CA 95865-5808

Mortgage Electronic Registration Systems, Inc.?*
C/o Pite Duncan & Melmet, LLP
525 E. Main Street

P.O. Box 12289

El Cajon, CA 92022-2289

hM

John and Sharon Mark 1
3234 Williston Way
El Dorado Hills, CA 95762

Gary Fraley
2862 Arden Way #205
Sacramento, CA 95825

WW

Michael Burkart
5150 Fair Oaks #101-185
Carmichael, CA 95608

' w = 11

Amercia’s Servicing Company dba Mortgage Elec§ronic
Registration Systems, Inc t
c/o The Buckley Firm

26522 La Alameda, Suite 200
Mission Viejo, CA 92691

John and Miriam Fresk
250 MC ADOO Drive #1021
Folsom, CA 95630 §
Linda Patrick

1540 Jefferson Boulevard
West Sacramento, CA 95691

\H…

Michael Burkart
5150 Fair Oaks Boulevard #101-185
Carmichael, CA 95608

I‘\ !r‘\

WM Specialty Mortgage, LLC

c/o Miles, Bauer, Bergstrom & Winters, LLP
1665 Scenic Avenue, Suite 200 `
Costa Mesa, CA 92626

wm

Office of the United States Trustee
United States Courthouse

501 1 St., Suite 7-500

Sacramento, CA 95814

Dated: &§Yg\C§T'

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Deputy Clerk :§

 

